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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

JASMIN N. ROWLETT *
Plaintiff(s)
VS. Civil Action No. 19-2896-ADC
BALTIMORE CITY, MARYLAND

BALTIMORE POLICE DEPARTMENT +
Defendant(s)

OR aK GK

SETTLEMENT ORDER
(LOCAL RULE 111)

This Court has been advised by the parties that the above action has been settled,
including all counterclaims, cross-claims and third-party claims, if any. Accordingly, pursuant to
Local Rule 111 it is ORDERED that:

This action is hereby dismissed and each party is to bear its own costs unless otherwise
agreed, in which event the costs shall be adjusted between the parties in accordance with their
agreement. The entry of this Order is without prejudice to the right of a party to move for good
cause within 90 days to reopen this action if settlement is not consummated. If no party moves

to reopen, the dismissal shall be with prejudice.

Date: March 6, 2020 ATI

A. David Coppetthite Y
United States Magistrate Judge

U.S. District Court (Rev. 9/20/2004)

 
